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May 31, 2019                                                                        Daniel P. Kearney
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Judge Thomas I. Vanaskie
JAMS, Inc.
1717 Arch Street, Suite 3810
Philadelphia, Pennsylvania 19103

          Re: CFPB v. Navient Corp., et al., Case No. 3:17-cv-00101-RDM

Dear Judge Vanaskie:

        Pursuant to Special Master Order Number 33, Defendants respectfully submit this letter
setting forth their position on whether the Court should conduct in camera review of a discrete
set of deliberative process documents withheld by the CFPB on its April 30 log. For the reasons
explained below Defendants believe that this review is necessary.

April 30 Log:
        On April 30, the CFPB produced a log asserting deliberative process privilege over 7,125
documents. The CFPB did not comply with the requirements for properly asserting the privilege,
which requires that such assertions must be “lodged by the head of the department which has
control over the matter” and supported by a declaration demonstrating that the person has
reviewed the withheld documents and determined them to be privileged. U.S. v. O’Neill, 619
F.3d 222, 226 (3d Cir. 1980) (quoting U.S. v. Reynolds, 345 U.S. 1, 8 (1953)); see also Ascom
Hasler Mailing Sys., Inc. v. U.S. Postal Serv., 267 F.R.D. 1, 4 (D.D.C. 2010) (“To avoid waiving
privilege, the . . . agency must ‘make a detailed argument, including affidavits from the proper
governmental authorities . . . .’”). In its March 24 letter, the CFPB offered no argument to
explain why this requirement should be waived here.

        Without the required declaration, Defendants must guess the relevance of the documents
based on the log’s vague descriptions of them—the same type of descriptions Judge Mariani
previously found inadequate on an earlier log. 1 Despite this obstacle, Defendants voluntarily
narrowed the universe to 629 documents (only 8.8% of the deliberative process documents
logged) that appear to be similar in nature to documents that the Special Master ordered
produced in its prior in camera deliberative process review. Defendants believe that the number
of documents at issue could be substantially reduced by (1) removal of duplicates, and (2) a good
faith application by the CFPB of the Special Master’s prior rulings and guidance.

       All 629 of these documents were previously withheld by the CFPB on the basis that they
were not relevant. Defendants did not learn of their existence until April 30. Defendants believe

1
    Doc. 140 at 7; Dec. 10, 2018 Hearing Tr. at 48:22-49:4; 82:19-22.
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that there are potential trial exhibits in this set of documents because the in camera review of
documents with similar descriptions resulted in the production of critical documents.

        Defendants’ request is therefore narrowly tailored to their need for the identified
documents, and the universe could be further reduced with the CFPB’s cooperation. In addition,
to reduce the burden on the Special Master, Defendants are not seeking another reasoned opinion
with respect to documents determined through in camera review to have been properly withheld.
Defendants request only an order setting forth documents determined appropriate for production.

The CFPB’s May 24 Letters:
       Three weeks ago, the CFPB represented that all discovery-related issues “have already
been placed out there” and that they “don’t have anything new.” 2 When Defendants raised the
need for in camera review of the 629 documents, the Special Master asked the CFPB to “have in
mind whether there’s some ability to compromise . . . or come up with a path that moves us
forward and . . . doesn’t jeopardize that discovery cutoff of June 7th.” 3

        Rather than propose a compromise, the CFPB responded with a barrage of accusations
against defense counsel. The Court ordered the CFPB to file a letter of apology with respect to
one—that there were improper ex parte communications with the Special Master—but there are
many other rhetoric-laden misstatements that are equally baseless. Two examples:

      •   The CFPB stated: “The aggressive methods of Defendants’ process server has been
          causing witnesses to cease cooperating after being placed on the Bureau’s disclosures.” 4
          Defendants are unaware of any issues with the process server, and the CFPB has never
          disclosed any. In fact, the process server has been specifically directed not to use
          aggressive tactics. Nor can service be avoided as the CFPB suggests because the CFPB
          does not represent the borrowers; there is case law in the Third Circuit requiring strict
          adherence to the personal service requirement of Rule 45 for subpoenas on non-parties. 5

      •   The CFPB stated: “[T]he Bureau warns prospective witnesses that, based on the
          depositions that have occurred, Navient will investigate every detail of the witnesses’
          personal lives … including … medical issues, hobbies, and vehicle choices.” The
          CFPB’s suggestion that Defendants have acted improperly is without merit. Witness
          credibility is critical. Accordingly, it is not improper, for example, to explore that a
2
    May 14, 2019 Hearing Tr. at 10:6-8.
3
    May 21, 2019 Hearing Tr. at 27:18-22.
4
    Doc. 308 at 4.
5
  See, e.g., Fiorentino v. Cabot Oil & Gas Corp., No. 3:09-cv-2284, 2012 WL 1281600, at *2 (M.D. Pa.
Jan. 6, 2012).
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            borrower chose to pay for luxury automobiles rather than make payments on student
            loans. Nor is it improper to explore news articles related to the CFPB’s lead witness’s
            use of marijuana and public presence as a psychic.

        The CFPB’s substantive response does not address the need for review of the newly
logged deliberative process documents. Instead, their letter offers up a number of irrelevant
issues in an effort to extract a “bilateral” pound of flesh from Defendants. And as usual, the
CFPB’s letter casts Defendants’ discovery conduct in the most inflammatory terms possible.
The fact that we have become accustomed to the CFPB’s repeated and unsupported accusations
of bad faith does not make them any less offensive. The Special Master has been intimately
involved with counsel for months. We are confident that the Special Master recognizes the
professional manner in which defense counsel have conducted themselves.

        Below is additional context for the CFPB’s eleventh hour “bilateral” requests.
Defendants feel compelled to offer this context because the CFPB first raised these issues after
hours last Friday, without first raising them in a meet and confer, and the Special Master did not
have any of this context when the matters were discussed on Tuesday’s standing call.

            CFPB Demand #1: “Every email that Mr. Remondi sent or received regarding the
            weekly call review.”
        The CFPB suggests that Defendants improperly withheld emails attaching recorded calls
to Mr. Remondi, but that is plainly not the case. Mr. Remondi was included by the CFPB as a
custodian in the May 2018 global compromise agreement, and the CFPB itself dictated the
search terms to be run over his documents. 6 The documents returned by the search were
reviewed, and responsive documents produced. The fact of the matter is that the CFPB’s search
terms were unlikely to hit on the call review documents; as Mr. Remondi testified, the recorded
calls generally arrived “via e-mail, as attachments to that email, . . . with no commentary or
analysis.” The ugly suggestion that there was deliberate withholding is unsupported. In fact,
Defendants have produced nearly 18,000 documents involving Mr. Remondi in this litigation.

            CFPB Demand #2: “[E]very email that Mr. Montgomery sent to or received from an
            entity other than Navient Corporation or one of its subsidiaries”
        The CFPB cites emails to Bob Montgomery as an example of “incriminating documents
that have not been provided to the Bureau.” Again, the suggestion is that the Defendants have
acted in bad faith, but the CFPB is well aware that Mr. Montgomery was not included by the
parties as an email custodian in the global compromise. Nevertheless, the CFPB contrives
“grave concerns” that some of Mr. Montgomery’s emails were not produced (over 26,000
documents were in fact produced for Mr. Montgomery through other custodians). Indeed, if they

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    Ex. 1, at 1.
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were legitimate, the CFPB could have raised its “grave concerns” about Mr. Montgomery’s
emails at any point over the last year. The i3 Group produced Exhibit C almost one year ago in
June 2018, and the CFPB deposed Mr. Montgomery in August 2018, using Exhibit C as an
exhibit in the deposition. But the CFPB said nothing about his emails until Defendants sought in
camera review of the recently-logged deliberative process documents.

       CFPB Demand #3: “All calls and correspondence for every deposed borrower, along
       with an affidavit itemizing every call and correspondence that could not be located
       within Navient’s servicing systems, and describing the steps undertaken to locate
       such calls and correspondence”

        This demand has already been litigated and resolved. Undeterred, the CFPB revisits the
issue now to improperly attack Defendants’ integrity. There is nothing more for Defendants to
do, as the history of this issue makes clear.

         In February 2018, Defendants began deposing the CFPB’s borrower witnesses. In
advance of the depositions, Defendants reviewed a borrower’s loan history—which is
documented on a screen called a “151”—and identified records and call recordings that related to
the issues for which the borrower was designated by the CFPB. Defendants then conducted a
reasonable search for each of those records and calls, and produced them as a courtesy to the
CFPB. Defendants were transparent as to the process that they were following in good faith.
Still, almost one year ago, in June 2018, the CFPB demanded that Defendants search for and
produce all communications with the borrowers, including routine calls to change an address or
regarding issues that have nothing to do with this lawsuit. As the Special Master is aware,
locating individual call recordings is burdensome. Defendants offered a straightforward
solution. Defendants invited the CFPB to undertake the same process that Defendants were
using to locate potentially responsive communications—specifically, to review the borrowers’
“151” loan histories and identify any additional communications it believed were relevant.

        The CFPB refused to engage in this solution, claiming that reviewing the “151” loan
histories and highlighting the relevant communications was unduly burdensome. The parties
reached an impasse, and raised the issue with Judge Mariani on August 5, 2018. When
Defendants explained the burden involved, Judge Mariani asked Defendants to propose a search
process. Doc. 106 at 51:22-53:12. Defendants proposed that the CFPB “look at the loan history
[and] identify the calls that relate to the specific activities at issue,” and Defendants would “go
and try to locate those calls and correspondence.” Id. at 54:9-11. The CFPB then agreed that the
parties could “proceed from there and see how that works out.” Id. at 55:16-18.

       The CFPB did nothing for four months. On December 7, 2018, the date of the prior
discovery deadline, the CFPB sent Defendants a list of calls and correspondence for deposed
borrowers that it believed were relevant and that it claimed had not been produced. On January
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16, 2019, Defendants sent the CFPB a letter explaining (1) that Defendants had in fact already
produced many of the calls and correspondence that the CFPB claimed were missing; (2) that
many call recordings prior to 2013—which were the bulk of the CFPB’s requests—were
unavailable, as Defendants had already explained many times and as the CFPB had seen for itself
during its site visit in August 2018; (3) that many of the CFPB’s requests were for items that did
not have independent records but were instead simply notations on a borrower’s “151” loan
history; and (4) that other CFPB requests related to records that were plainly not relevant, such
as call recordings about a borrower’s loans that were not at issue. Ex 2.

         Nonetheless, to close out this issue, Defendants searched for and produced every
available call recording and correspondence that the CFPB requested. We completed production
on February 15, 2019. The CFPB never raised any issues with this production and has never
claimed that it is missing any relevant records for the borrowers. Nor does it do so in its May 24
letter. Instead, it points to precisely two letters and three calls—records that were produced as
part of a specifically-agreed process before Judge Mariani—as evidence of Defendants’
“improper[]” conduct, and accuses us of misrepresentations to the Court. Enough. The CFPB’s
accusations are beyond the pale, and its call recording request is a remanufactured issue of no
substance. Between August 5, 2018 and now, the CFPB has availed itself of the opportunity to
identify calls for these borrowers precisely once (in December). Even now, it has not identified a
single call that it is missing without explanation. The CFPB’s demand for all records and an
affidavit describing what has already been stated repeatedly would serve no purpose other than to
impose a needless and extremely onerous burden on Defendants.

        The new discovery deadline affords the Special Master appropriate time to review in
camera the 629 documents identified for deliberative process review. Based on the additional
context provided, that in camera review should be de-coupled from the CFPB’s strategic
“mutual” grievances. To do otherwise rewards the CFPB for ignoring the law of the case
developed through the Special Master’s thoughtful written analysis of documents already
reviewed in camera and honors the false equivalency created by the CFPB regarding these very
different disputes. To the extent the Court intends to order bilateral relief, Defendants would
propose that the path forward be limited to a reasonable search for #1 and #2.

                                                    Respectfully submitted,




                                                    /s/ Daniel P. Kearney
